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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:14CR311
                                                )
       vs.                                      )                   ORDER
                                                )
JOSE SOLORZANO-FARIAS,                          )
                                                )
                      Defendant.                )

       This matter is before the court on the motion to suppress by defendant Jose
Solorzano-Farias (Solorzano-Farias) (Filing No. 29 - Part 1). Solorzano-Farias also seeks
to delay the filing of his brief in support of his motion to suppress (Filing No. 29 - Part 2).
       The request to delay the filing of his brief is granted. Solorzano-Farias’ motion to
suppress will be held in abeyance pending the filing of a brief in support of his motion. The
brief in support of the motion shall be filed on or before January 16, 2015. Thereupon, an
evidentiary hearing will be scheduled on the motion to suppress.


       IT IS SO ORDERED.


       DATED this 11th day of December, 2014.


                                                    BY THE COURT:


                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
